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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.1
                                 Eastern Division

Kathleen Taylor
                                      Plaintiff,
v.                                                       Case No.: 1:17−cv−06374
                                                         Honorable Gary Feinerman
State Collection Service, Inc.
                                      Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 15, 2018:


        MINUTE entry before the Honorable Gary Feinerman:Unopposed motion to
extend discovery deadlines [30] is granted. The schedule is amended as follows. Fact
discovery shall be completed by 7/6/2018. Rule 26(a)(2) disclosures shall be served by
9/12/2018. Rebuttal Rule 26(a)(2) disclosures shall be served by 10/10/2018. Expert
depositions shall be completed by 11/7/2018. Motion hearing set for 5/21/2018 [31] is
stricken.Status hearing set for 5/22/2018 [20] is stricken and re−set for 6/18/2018 at 9:00
a.m. Mailed notice.(jlj, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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